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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK




 VIRGINIA L. GIUFFRE,
                                                      Case No. 1:21-cv-06702 (LAK)
                Plaintiff,
        v.                                            NOTICE OF APPEARANCE


 PRINCE ANDREW, DUKE OF YORK, a/k/a
 ANDREW ALBERT CHRISTIAN EDWARD, in
 his personal capacity,

                Defendant.


       PLEASE TAKE NOTICE that the undersigned attorney, Andrew Villacastin, who

is a member in good standing of the bar of this Court, hereby appears as counsel for

Plaintiff Virginia L. Giuffre in the above-captioned proceeding.

Dated: New York, New York
       September 8, 2021

                                             BOIES SCHILLER FLEXNER LLP

                                             By:    /s/ Andrew Villacastin
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                                                    Virginia L. Giuffre
